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                                           #:1857
                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES - GENERAL
 Case No.       CV 22-01916-FWS (GJS)                                  Date May 9, 2025
 Title          Abdirahman Aden Kariye, et al. v. Alejandro Mayorkas, et al.



 Present:                  Hon. Gail J. Standish, United States Magistrate Judge
                  L. Krivitsky                                             N/A
                 Deputy Clerk                                    Court Reporter / Recorder
          Attorneys Present for Plaintiff:                Attorneys Present for Defendants:
                   None present                                         None present

 Proceedings:           (IN CHAMBERS) ORDER GRANTING (AS MODIFIED)
                        PLAINTIFFS’ APPLICATION TO FILE PLAINTIFFS’ MOTION
                        TO COMPEL PRODUCTION OF DOCUMENTS UNDER SEAL
                        [105] AND APPLICATION TO FILE PLAINTIFFS’ MOTION
                        TO COMPEL PRODUCTION RE LAW ENFORCEMENT
                        PRIVILEGE UNDER SEAL [107]; AND SETTING BRIEFING
                        SCHEDULE

      The Court having reviewed Plaintiffs’ Applications [Dkts. 105 and 107 and
supporting declarations] to file their Motions to Compel under seal, as well as
Defendants’ Responses thereto [Dkts 111 and 113 and supporting declarations], hereby
GRANTS both Applications to the extent stated below.

       Plaintiffs filed the Applications to Seal in accordance with the Protective Order
filed in this case but argued that the material Defendants designated as Confidential did
not warrant sealing because the public’s right to access to the information – in this case
some personal identifying information (“PII”) of law enforcement officers and
information contained in law enforcement reports – outweighs the need for
confidentiality. Plaintiffs argue that Defendants need to show a compelling reason or
reasons to maintain the documents produced (and related information) as Confidential
with a requirement that they must be filed under seal. Plaintiffs are correct that when the
allegedly confidential information is sought to be used at trial or in connection with




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                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

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dispositive motions, the compelling reason standard applies.

       Defendants Responses, however, correctly point out that for purposes of discovery,
rather than trial, the standard for maintaining confidentiality is lower. Filing of the
information at issue here under seal only requires a showing of good cause. Kamakana v.
City & Cnty. of Honolulu, 447 F.3d 1172, 1180 (9th Cir. 2006) (“good cause” standard of
Rule 26(c) will suffice to warrant preserving the secrecy of sealed discovery material
attached to non-dispositive motions). The Court is particularly concerned with allowing
whole categories of potentially sensitive PII into the public record without reviewing the
specific information at issue (document by document or entry by entry), which is one
reason that the good cause standard, rather than the compelling reason standard, should
apply during discovery disputes. In other words, judicial economy also plays a role in the
non-dispositive motion setting.

      Defendants further state that they have narrowed the categories of information for
which they seek under seal protection. [See, e.g., Dkt 111 at fn. 1 and related declaration
(discussing information contained in TECS Reports).] The Court therefore GRANTS the
Applications to file under seal as follows:

         1. The documents and information identified as Confidential shall be filed and
            maintained under seal for purposes of discovery and other pre-trial filings in
            this case. Should the parties seek to use confidential material for dispositive
            motions or at trial they must apply to the District Judge for a determination of
            the propriety of maintaining such confidential/under seal status, meeting the
            higher, compelling reasons standard then-required.

         2. Given that Defendants have narrowed the scope of the information they
            maintain is confidential, Plaintiffs must file newly redacted, public versions of
            their Motions and supporting documents if any changes are necessary. Any
            newly redacted versions must be filed on the public docket within 3 business
            days after the under seal filings are complete.




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         3. The Court sets the following briefing schedule for the Motions at issue and will
            set a hearing on the Motions, if necessary, after briefing is completed: Opening
            briefs and supporting documents are due on or before May 19, 2025;
            Opposition briefs and supporting documents are due on or before June 2, 2025;
            Reply briefs, if any, are due on or before June 9, 2025. Reply briefs are to be
            responsive only and may not repeat or reiterate facts or arguments made in
            Opening.

IT IS SO ORDERED.




cc: District Judge Fred W. Slaughter




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                                                          Initials of Preparer      LK




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